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                              UNITED STATES BANKRUPTCY COURT
                                                    DISTRICT OF MASSACHUSETTS
                                                         BOSTON DIVISION

In re: TEENA KAMAL                                                                                      Case No.: 22-11321-JEB

                Debtor(s)

                      CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Carolyn A. Bankowski, chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to
11 U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 09/14/2022.
2) The plan was confirmed on NA.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on NA.
5) The case was dismissed on 10/03/2022.
6) Number of months from filing or conversion to last payment: 0.
7) Number of months case was pending: 1.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: NA.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
       Total paid by or on behalf of the debtor:                  $.00
       Less amount refunded to debtor:                            $.00
 NET RECEIPTS:                                                                          $.00

 Expenses of Administration:
       Attorney's Fees Paid Through The Plan:                                         $.00
       Court Costs:                                                                   $.00
       Trustee Expenses and Compensation:                                             $.00
       Other:                                                                         $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                      $.00

 Attorney fees paid and disclosed by debtor:                    $.00




 Scheduled Creditors:
Creditor                                                      Claim              Claim             Claim        Principal           Interest
Name                                        Class             Scheduled          Asserted          Allowed      Paid                Paid

WILSONDALE ASSOCIATES, LLC                  Unsecured                   NA              .00             .00            .00                .00

 Summary of Disbursements to Creditors:                                                            Claim        Principal           Interest
                                                                                                   Allowed      Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                  .00            .00                .00
     Mortgage Arrearage:                                                                                .00            .00                .00
     Debt Secured by Vehicle:                                                                           .00            .00                .00
     All Other Secured:                                                                                 .00            .00                .00
 TOTAL SECURED:                                                                                         .00            .00                .00

 Priority Unsecured Payments:
       Domestic Support Arrearage:                                                                      .00            .00                .00
       Domestic Support Ongoing:                                                                        .00            .00                .00
       All Other Priority:                                                                              .00            .00                .00
 TOTAL PRIORITY:                                                                                        .00            .00                .00
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                                UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF MASSACHUSETTS
                                                      BOSTON DIVISION

In re: TEENA KAMAL                                                                                     Case No.: 22-11321-JEB

                Debtor(s)

 TOTAL PRIORITY:CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND .00
                                                               ACCOUNT .00                                                                .00

 GENERAL UNSECURED PAYMENTS:                                                                          .00              .00                .00

 Disbursements:
       Expenses of Administration:                                                                   $.00
       Disbursements to Creditors:                                                                   $.00
 TOTAL DISBURSEMENTS:                                                                                                                    $.00

   12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
   foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
   The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                 Date:      10/31/2022                                    By:   /s/Carolyn A. Bankowski
                                                                                Trustee
         STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
         exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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